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                                                    State of New Jersey
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                                                     November 17, 2021

       Via CM/ECF and Regular Mail
       The Honorable Julien Xavier Neals and the Honorable Cathy L. Waldor
       United States District Court for the District of New Jersey
       402 East State Street
       Trenton, NJ 08608

                         Re:     Alameen Adams v. New Jersey Department of Corrections, et al.,
                                 Civil Action No. 2:21-cv-12482

                               Letter Brief in Support of Defendants’ Motion to Dismiss

       Dear Judges Neals and Waldor:

                  I represent Defendants New Jersey Department of Corrections (DOC) and Patrick Nogan

       in the above-referenced matter. Please accept this letter in lieu of a more formal submission in

       support of Defendant’s Motion to Dismiss pursuant to Fed. R. Civ. P. 12(b)(6).

                                FACTUAL AND PROCEDURAL BACKGROUND

                  Plaintiff initiated this action on March 29th, 2021 in New Jersey State Court. ECF No. 1.

       Defendants removed this case to the U.S. District Court for New Jersey on June 14th, 2021. ECF

       No. 1. Plaintiff has brought nine claims against named Defendants: Count One alleges the Plaintiff

       was a victim of Assault and Battery, Counts Two, Three, and Four allege that Defendants Violated

       the New Jersey Civil Rights Act, N.J. Stat. § 10: 6-2. ECF No. 1 at 9 - 15. Counts Five, Six, and

       Seven allege that Defendants violated the Federal Civil Rights Act, 42 U.S.C. § 1983. ECF No. 1




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at 15 - 22. Count Eight alleges the Defendants acted negligently, causing the Plaintiff harm. ECF

No. 1 at 22 – 24. Count Nine alleges Defendants Intentionally Inflicted Emotional Distress on the

Plaintiff. ECF No. 1 at 24 – 25.

       Plaintiff alleges that on July 28, 2019, while he was incarcerated at Northern State Prison

in New Jersey, Defendants Christian Underwood, Warren Zalme, and other unidentified

individuals committed an assault and battery against the Plaintiff. Plaintiff also alleges that the

DOC, Northern State Prison (NSP), and other named Defendants violated the Plaintiff’s rights

under the New Jersey Constitution and under the Constitution of the United States for failing to

prevent and for failing to intervene during that alleged attack to protect the Plaintiff from harm.

Plaintiff further alleges that the DOC and other named Defendants Intentionally Inflicted

Emotional Distress on him, and that their negligence in overseeing NSP caused him harm.

                                   STANDARD OF REVIEW

       Fed. R. Civ. P. 12(b)(6) governs a motion to dismiss. Kehr Packages, Inc. v. Fidelcor, Inc.,

926 F.2d 1406, 1408-09 (3d Cir. 1991). “While all well-pled allegations are accepted as true and

reasonable inferences are drawn in the plaintiff’s favor, the Court may dismiss a complaint where,

under any set of facts which could be shown to be consistent with a complaint, the plaintiff is not

entitled to relief.” Mruz v. Caring, Inc., 39 F. Supp. 2d 495, 500 (D.N.J. 1999). For the purposes

of a motion to dismiss under Fed. R. Civ. P. 12(b)(6), courts “accept as true all of the factual

allegations contained in the complaint and any reasonable inferences that can be drawn therefrom.”

In re Campbell Soup Co. Sec. Litig., 145 F. Supp. 2d 574, 582-83 (D.N.J. 2001), (citing Nami v.

Fauver, 82 F.3d 63, 65 (3d Cir. 1996)). “Nevertheless, legal conclusions offered in the guise of

factual allegations are given no presumption of truthfulness.” Perry v. Gold and Laine, P.C., 371

F. Supp. 2d 622, 626 (D.N.J. 2005).
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       Thus, in deciding a motion to dismiss under Rule 12(b)(6), a court “can and should reject

‘legal conclusions,’ ‘unsupported conclusions,’ ‘unwarranted references,’ ‘unwarranted

deductions,’ ‘footless conclusions of law,’ and ‘sweeping legal conclusions in the form of actual

allegations.’” Id., at 626 (quoting Morse v. Lower Merion School Dist., 132 F. 3d 902, 907, n.8

(3d Cir. 1997)). In other words, rather than plead mere conclusory statements, a complaint must

state factual details related to conduct of the defendants making them responsible for the alleged

harm. See Evancho v. Fisher, 423 F.3d 347, 353 (3d Cir. 2005).

       A court ultimately determines whether the alleged facts, if true, support the stated claim.

Koso v. Kozakiewicz, 1 F.3d 176, 183 (3d Cir. 1993). Dismissal is appropriate when "it is clear

that no relief could be granted under any set of facts that could be proved consistent with the

allegations." Hishon v. King & Spalding, 467 U.S. 69, 73 (1984).

                                          ARGUMENT

                                             POINT I

               Plaintiff’s New Jersey Civil Rights Act claims must be dismissed as
               to Defendants acting in their official capacities, because they are not
               “persons” subject to liability under the statute.


       In their Complaint, Plaintiff states that he has brought counts two, three, and four against

Defendants Hicks, Nogan, Underwood, and Zalme in their individual and official capacities.

ECF No. 1 at 10 - 15.

       New Jersey courts “have long recognized that an essential and fundamental aspect of

sovereignty is freedom from suit by private citizens for money judgments absent the State's

consent.” Allen v. Fauver, 768 A.2d 1055, 1058 (N.J. 2001). Our Supreme Court has held that

"[c]onsent has required clear and unambiguous legislative expression." Id. “Unlike certain other
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remedial statutes . . . which include the State in their definitions of ‘employer,’ the Civil Rights

Act does not on its face apply to the State.” Brown v. State, 124 A.3d 243, 255 (N.J. Super. App.

Div. 2015). “[B]ecause the State is not a ‘person’ under the Civil Rights Act, it is equally

immune from suits for damages as it is for suits seeking injunctions and other equitable relief.”

Id. In the New Jersey Civil Rights Act, “New Jersey has provided its own definition of the word

‘person,’ and that definition does not include the State or defendants which are the functional

equivalent of the State.” Didiano v. Balicki, 488 Fed. Appx. 634, 638 (3d Cir. 2012). Suing a

state employee in their official capacity is the “functional equivalent” of suing the State itself.

See Id.

          To the extent that Plaintiff brings counts two, three, and four against the Department of

Corrections or its employees in their official capacities, the claims must be dismissed because

they are not cognizable under the New Jersey Civil Rights Act.



                                               POINT II

                 Plaintiff’s § 1983 claims must be dismissed as to Defendants acting
                 in their official capacities, because they are not “persons” subject to
                 liability under the statute.


          In their Complaint, Plaintiff states that he has brought counts five, six, and seven against

Defendants Hicks, Nogan, Underwood, and Zalme in their individual and official capacities.

ECF No. 1 at 15 - 22.

          42 U.S.C. § 1983 provides, in pertinent part:

                 Every person who, under color of any statute, ordinance, regulation,
                 custom, or usage, of any State or Territory or the District of
                 Columbia, subjects, or causes to be subjected, any citizen of the
                 United States or other person within the jurisdiction thereof to the
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                deprivation of any rights, privileges or immunities secured by the
                Constitution and laws, shall be liable to the party injured in an action
                at law, suit in equity, or other proper proceeding for redress.

                [(emphasis added.)]

        To be liable within the meaning of the statute, a defendant must be a “person.” The

Supreme Court of the United States has held that “States are not ‘persons’ within the meaning of

§ 1983 and, therefore, cannot be among those held liable for violations of the civil rights statute.”

Blanciak v. Allegheny Ludlum Corp., 77 F.3d 690, 697 (3d Cir. 1995) (citing Will v. Michigan

Dep’t of State Police, 491 U.S. 58, 66 (1989)). Additionally, in Will, the Supreme Court held that

state agencies and officials acting in their official capacities are not “persons” under § 1983. 491

U.S. at 70-71. While state officials are persons literally, a suit against a state official in his or her

official capacity is not a suit against that person, but is a suit against the office that person holds.

“As such, it is no different from a suit against the State itself.” Id. at 71.

        The Supreme Court also found that, in enacting § 1983, Congress did not intend to override

well-established common law immunities or defenses, specifically the principle that a state cannot

be sued without its consent. Id. at 71. While § 1983 is a remedy for an official violation of federal

rights, it “does not suggest that the State itself was a person that Congress intended to be subject

to liability.” Id. at 68.

        To the extent that Plaintiff brings counts five, six, and seven against the Department of

Corrections or its employees in their official capacities, the claims must be dismissed because they

are not cognizable under Section 1983.



                                               POINT III
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                Plaintiff’s intentional tort claims must be dismissed as to Defendants
                acting in their official capacities because state entities are immune
                from liability for intentional torts according to the Tort Claims Act
                N.J. Stat. § 59:2-10

        Chapter two, section ten of the New Jersey Tort Claims Act states that a “public entity is

not liable for the acts or omissions of a public employee constituting a crime, actual fraud, actual

malice, or willful misconduct.” N.J. Stat. § 59:2-10. Courts have interpreted this section to mean

that Plaintiffs may not hold a public entity liable for intentional torts even when those torts are

committed by employees of the public entity. See, e.g., Thigpen v. City of East Orange, 974 A.2d

1126, 1133 - 1134 (N.J. Super. App. Div. 2009) (Where the court held that, under the Tort

Claims Act, municipal entities could not be held liable for intentional torts committed by

municipal employees). See also, e.g., McGovern v. City of New Jersey, Docket No. 98-cv-5186

(JLL), 2005 U.S. Dist. LEXIS 38644 at *50 (D.N.J. 2006) (Where the court held that, under the

Tort Claims Act, a public entity could not be held liable for the willful misconduct of its

employees, and therefore dismissed claims alleging Intentional Infliction of Emotional Distress

and Assault and Battery).

        In his complaint, Plaintiff alleges, in Count One, that he was the victim of an Assault and

Battery carried out by Defendants Underwood and Zalme. ECF No. 1 at 9 - 10. Plaintiff states

that he is suing these individuals in their “official and individual” capacities. ECF No. 1 at 9 - 10.

A suit against a state official in his or her official capacity is not a suit against that person, but is

a suit against the office that person holds. “As such, it is no different from a suit against the State

itself.” Will, 491 U.S. 58, 71 (1989). If Defendants Underwood and Zalme committed an Assault

and Battery against Plaintiff, that would constitute willful misconduct. See McGovern, Docket

No. 98-cv-5186 (JLL), 2005 U.S. Dist. LEXIS 38644 at *50. Because public entities are immune
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from liability for the willful misconduct of their employees, the Plaintiff’s claims under Count

One against Department of Corrections employees in their “official capacity” is barred by the

New Jersey Tort Claims Act.

        Additionally, Plaintiff alleges, in Count Nine, that he was the victim of Intentional

Infliction of Emotional Distress (IIED) carried out by Defendants Hicks, Nogan, Underwood,

and Zalme. ECF No. 1 at 24 – 25. Plaintiff states that he is suing these individuals in their

“official and individual” capacities. ECF No. 1 at 24 - 25. A suit against a state official in his or

her official capacity is not a suit against that person, but is a suit against the office that person

holds. “As such, it is no different from a suit against the State itself.” Will, 491 U.S. 58, 71

(1989). If the conduct of these Defendants does constitute IIED, it would also constitute willful

misconduct. See McGovern, Docket No. 98-cv-5186 (JLL), 2005 U.S. Dist. LEXIS 38644 at

*50. Because public entities are immune from liability for the willful misconduct of their

employees, the Plaintiff’s claims under Count Nine against Department of Corrections

employees in their “official capacity” is barred by the New Jersey Tort Claims Act.



                                           CONCLUSION

        For the foregoing reasons, Defendants DOC and Patrick Nogan respectfully request that

all claims within Counts One, Two, Three, Four, Five, Six, Seven, and Nine that relate to the State

of New Jersey, any State Agency, or any State Employee sued in their official capacity be

dismissed with prejudice.
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                             Sincerely yours,

                             ANDREW J. BRUCK
                             ACTING ATTORNEY GENERAL OF NEW JERSEY

                       By:   /s/ William C. Booth
                             William C. Booth
                             Deputy Attorney General
